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                   EXHIBIT O
5/12/25, 3:45 PM       Nayib Bukele on X: "We have offered the United States of America the opportunity to outsource part of its prison system. We are wil…
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                                                 We have offered the United States of America the opportunity to
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                                                 We are willing to take in only convicted criminals (including convicted
                                                                                                                                                         Creat
                                                 U.S. citizens) into our mega-prison (CECOT) in exchange for a fee.
                                                                                                                                       By signing up, you agre
                                                 The fee would be relatively low for the U.S. but significant for us, making           Privacy Policy, includin
                                                 our entire prison system sustainable.


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